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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

In re:                                        )       CHAPTER 13
                                              )
AMANDA LYNNE BOHANON                          )       CASE NO. 17-51130-WLH
                                              )
         DEBTOR.                              )


         MOTION TO APPROVE SETTLEMENT AND FOR DEBOR TO RETAIN
                        SETTLEMENT PROCEEDS

       COMES NOW the Amanda Bohanon, by and through counsel, and shows this Court the
following:

                                                   1.
         The debtor filed the instant petition pursuant to Chapter 13 under the Bankruptcy Code

on January 20, 2017. The case was confirmed on June 2, 2017.

                                                2.
         Debtor suffered a car accident on August 24, 2015, and suffered injuries.

                                                 3.
         Debtor hired Georgia Trial Attorneys at Kirchen & Grant, LLC to settle a personal injury

case as a result of the August 24, 2015 collision. On May 31, 2017, this court entered an order

approving the employment of James Grant for this personal injury case. James Grant is

employed with Georgia Trial Attorneys at Kirchen & Grant, LLC.

                                                   4.
         Per the settlement, Exhibit A, Debtor is to receive $32,673.92. The debtor would like to

retain the funds to help pay for future medical bills and miscellaneous bills that have become

due.

                 WHEREFORE, Debtor prays:

                 (a) For the entry of an Order approving the debtor’s settlement and
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              (b) allowing Georgia Trial Attorneys at Kirchen & Grant, LLC to disburse the

                  debtor her settlement proceeds for the reimbursement for her injuries;

              (c) For such other relief as the Court deems just and proper.

      This July 7, 2017.


                                           Respectfully submitted,



                                           _______________/s________________
                                           Brian S. Limbocker
                                           Attorney for Debtor
                                           2230 Towne Lake Parkway
                                           Building 800, Ste. 140
                                           Woodstock, GA 30189
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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

In re:                                       )       CHAPTER 13
                                             )
AMANDA LYNNE BOHANON                         )       CASE NO. 17-51130-WLH
                                             )
         DEBTOR.                             )


                         NOTICE OF ASSIGNMENT OF HEARING

       PLEASE TAKE NOTICE that the above referenced Debtor has filed a Motion to
Approve Settlement and to Retain Insurance Proceeds (“Motion”) and related papers with the
Court seeking an order on the Motion.

       PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion
in Courtroom 1403, United States Courthouse, 75 Ted Turner Drive, S.W., Atlanta, Georgia, at
9:30 A.M on August 16th, 2017.

        Your rights may be affected by the court’s ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one.) If you do not want the court
to grant the relief sought in these pleadings or if you want the court to consider your views, then
you and/or your attorney must attend the hearing. You may also file a written response to the
pleading with the Clerk at the address stated below, but you are not required to do so. If you file
a written response, you must attach a certificate stating when, how and on whom (including
addresses) you served the response. Mail or deliver your response so that it is received by the
Clerk at least two business days before the hearing. The address of the Clerk's Office is Clerk, U.
S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, SW, Atlanta Georgia 30303. You must
also mail a copy of your response to the undersigned at the address stated below.

         DATED THIS July 7, 2017.

                                                     _______/s_______________________
                                                     BRIAN S. LIMBOCKER
                                                     ATTORNEY FOR DEBTOR
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                                      Certificate of Service

       I, the undersigned hereby certify that I am, and at all times mentioned was more than 18
years of age, and that on October 4, 2011, I served a true copy of the within and foregoing
Motion to Retain Insurance Proceeds, upon the following:

Nancy J. Whaley
303 Peachtree Center Ave.
Suite 120
Atlanta, GA 30303

Amanda Bohanon
609 Sweet Bay Ridge
Woodstock, GA 30189

Kirchen & Grant, LLC
Attention: James Grant
3867 Holcomb Bridge Rd., Ste. 700
Norcross, GA 30092

And all of the creditors on the attached matrix.


This July 7, 2017.
                                              _______________/s________________
                                              Brian S. Limbocker
                                              Attorney for Debtor
Label Matrix forCase     17-51130-wlh
                  local noticing               Doc 33
                                                    AmandaFiled
                                                           Lynne 07/07/17
                                                                 Bohanon   Entered 07/07/17 14:30:36       DescInMain
                                                                                             Caliber Home Loans,
113E-1                                                    Document
                                                    609 Sweet Bay Ridge  Page 5 of 8         Po Box 24610
Case 17-51130-wlh                                    Woodstock, GA 30188-3311                       Oklahoma City, OK 73124-0610
Northern District of Georgia
Atlanta
Fri Jul 7 14:27:40 EDT 2017
Caliber Home Loans, Inc.                             (p)CITIBANK                                    Comenity Bank/vctrssec
13801 Wireless Way                                   PO BOX 790034                                  Po Box 182789
Oklahoma City, OK 73134-2500                         ST LOUIS MO 63179-0034                         Columbus, OH 43218-2789



Department Store National Bank                       Abbey Ulsh Dreher                              Dsnb Macys
c/o Quantum3 Group LLC                               Barrett Daffin Frappier Levine & Block         Po Box 8218
PO Box 657                                           Suite 100                                      Mason, OH 45040-8218
Kirkland, WA 98083-0657                              4004 Belt Line Road
                                                     Addison, TX 75001-4320

(p)GEORGIA DEPARTMENT OF REVENUE                     James M Grant                                  Internal Revenue Service
COMPLIANCE DIVISION                                  Kirchen & Grant, LLC                           P.O. Box 7346
ARCS BANKRUPTCY                                      Suite 700                                      Philadelphia, PA 19101-7346
1800 CENTURY BLVD NE SUITE 9100                      3867 Holcomb Bridge Rd.
ATLANTA GA 30345-3202                                Norcross, GA 30092-2210

Kenny Bohanon                                        Brian S. Limbocker                             PRA Receivables Management, LLC
2011 Pine Forest Ct.                                 Limbocker Law Firm, LLC                        PO Box 41021
Jonesboro, GA 30236-5417                             Bldg. 800 - Suite 140                          Norfolk, VA 23541-1021
                                                     2230 Towne Lake Parkway
                                                     Woodstock, GA 30189-5542

Pinnacle Credit Services, LLC its successors         Pinnacle Credit Services, LLC its successors   Pinnacle Llc/resurgent
assigns as assignee of Cellco                        assigns as assignee of Cellco Partner-         Po Box 10497
Partnership d/b/a Verizon Wireless                   ship d/b/a Verizon, Resurgent                  Greenville, SC 29603-0497
Resurgent Capital Services, PO Box 10587             Capital Services, PO Box 10587
Greenville, SC 29603-0587                            Greenville, SC 29603-0587

(p)PORTFOLIO RECOVERY ASSOCIATES LLC                 Quantum3 Group LLC as agent for                River Park Owners Association
PO BOX 41067                                         Comenity Bank                                  River Park c/o Tolley Community Manageme
NORFOLK VA 23541-1067                                PO Box 788                                     8295 Highway 92
                                                     Kirkland, WA 98083-0788                        Woodstock, GA 30189-6507


Sears/cbna                                           State Collection Service, Inc.                 State Collection Services
Po Box 6189                                          2509 S. Stoughton Road                         P.O. Box 1072
Sioux Falls, SD 57117-6189                           Madison, WI 53716-3314                         Wixom, MI 48393-1022



SunTrust Bank                                        Suntrust Bank Atlanta                          Synchrony Bank
Attn: Support Services                               55 Park Pl Ne Ste 1055                         c/o PRA Receivables Management, LLC
P.O. Box 85092                                       Atlanta, GA 30303-2531                         PO Box 41021
Richmond, VA 23286-0001                                                                             Norfolk, VA 23541-1021


Tolley Community Management                          U. S. Attorney                                 WellsStar
8295 GA-92                                           600 Richard B. Russell Bldg.                   P.O. Box 3475
Woodstock, GA 30189                                  75 Ted Turner Drive, SW                        Toledo, OH 43607-0475
                                                     Atlanta GA 30303-3315
Nancy J. Whaley Case 17-51130-wlh            Doc 33    Filed
                                                  Ryan J.      07/07/17 Entered 07/07/17 14:30:36
                                                          Williams                                                      Desc Main
Nancy J. Whaley                                        Document
                                                  Nancy J. Whaley      Page 6 of 8
Standing Chapter 13 Trustee                          Standing Chapter 13 Trustee
303 Peachtree Center Avenue                          303 Peachtree Center Avenue
Suite 120                                            Suite 120
Atlanta, GA 30303-1286                               Atlanta, GA 30303-1286


                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Cbna                                                 Georgia Department of Revenue                        Portfolio Recovery Associates, LLC
50 Northwest Point Road                              P.O. Box 105499                                      POB 41067
Elk Grove Village, IL 60007                          Atlanta, GA 30348-5499                               Norfolk VA 23541




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Caliber Home Loans, Inc.                          End of Label Matrix
                                                     Mailable recipients    31
                                                     Bypassed recipients     1
                                                     Total                  32
        Case 17-51130-wlh                Doc 33       Filed 07/07/17 Entered 07/07/17 14:30:36                    Desc Main
                                                      Document      Page 7 of 8                                         Exhibit A
                             Georgia Trial Attorneys at Kirchen & Grant
                                                        3867 Holcomb Bridge Road
                                                              Suite 700
                                                            Norcross, GA 30092
                                                         Telephone: 678-667-8965
                                                            Fax: 678-935-4329
                                                                                                                               6/23/2017
Amanda Bohanon                                                                                         Invoice No.                 2712
230 Wentworth Dr
Canton, GA 30114

 _____________________________________________________________________________________________________________
                                                         Settlement Statement

Client Number:     845                              Amanda Bohanon
Matter Number:     1861                             Amanda Bohanon v Michelle Crawford




 Total Funds Received per settlement order:                                                                      $116,438.91

           LESS: Attorney Fees:    The Law Offices of Kanner & Pintaluga
                                                                                                                  $27,739.82
                                   Georgia Trial Attorneys at Kirchen & Grant                                     $11,073.15
           LESS: Costs Incurred
           Date          Check No.        Description
                                          TLO search                                        $2.00
                                          Facsimile Charges                                 $1.75
                                          Facsimile Charges - LOP to                        $1.75
                                          Key Health
                                          Postage & Photocopies- offer                     $12.04
                                          to settle tort claim made
                                          pursuant to 33-7-11
                                          Plus CD
                                          certified: 7016 2140 0000
                                          8039 5912
                                          Facsimile Charges                                 $3.50
                                          Closed File Fee                                  $50.00
                                          K&P Costs                                       $449.85

                                          Total Costs Incurred:                                                     $520.89
           LESS: Letters of Protection
                          MedCare Solutions obo University                                $481.13
                          Orthopedics (original bill - $1,070.00)
                          Arrowhead Clinics, Inc. (original bill -                       $1,300.00
                          $6,845.00)
                          CP Healthcare obo American Health                              $2,200.00
                          Imaging of Marietta (original bill -
                          $3,700.00)
                          Regional Medical Group (original bill -                        $4,000.00
                          $6,192.68)


                                                             Continued On Next Page




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     Case 17-51130-wlh             Doc 33        Filed 07/07/17 Entered 07/07/17 14:30:36     Desc Main
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                      MedChex obo BenchMark Rehab                                $35,000.00
                      Partners, American Health Imaging of
                      Canton, Atlanta Surgical Logistics
                      (original bills - $58,784.01)
                      Key Health Medical Solutions obo                            $1,450.00
                      American Health Imaging (original bill -
                      $2,370.00)

                                      Total Letters of Protection                             $44,431.13

                                     Total Amount to Client:                                  $32,673.92



Accepted and Agreed this _____ day of June, 2017.

________________________________________________________________
Bohanon, Amanda

                                                   Thank You For Your Business




                                                           Page 2 of 2
